                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


UNITED STATES OF AMERICA,


V.                                           Indictment: 1:20-CR-103-TWT


BANGALLY TOURAY,
DEFENDANT.


  DEFENDANT’S MOTION TO SUPPRESS SEARCH AND SEIZURE OF
  DEFENDANT AND HIS CELL PHONE AT UNITED STATES BORDER


      Defendant BANGALLY TOURAY (TOURAY), by and through

undersigned counsel, respectfully moves this Honorable Court pursuant to Federal

Criminal Rule of Criminal Procedure 12, 41, and 47, and the Fourth, Fifth, and

Sixth Amendments and the Due Process Clause of the United States Constitution,

to suppress the items seized from TOURAY, his cell phone, and the contents

therein, seized by the government pursuant to an unlawful border search of

TOURAY. This motion is made due to the fact that the search and seizure lacked

probable cause and reasonableness under the Fourth Amendment of the U.S.

Constitution. In support thereof counsel states the following:
                                                   FACTS

          Defendant TOURAY has been charged in an indictment with conspiracy to

launder money in support of drug trafficking (Doc. 38). The government alleges

that between September 2, 2017 and February 11, 2020, TOURAY and his co-

defendants conspired to launder money in the Northern District of Georgia and

elsewhere in the United States. On May 12, 2019, TOURAY went to John F.

Kennedy International Airport in New York City, New York. TOURAY was

scheduled to depart from New York City (NYC) to Brussels, Belgium, and then

from Brussels to Banjul, Gambia. Homeland Security Investigations (HSI)

Special Agent Daniel SYMONDS and officers with the U.S. Customs and Border

Protection (CBP) seized TOURAY as he attempted to board the flight departing

from NYC to Belgium. During the seizure, officers discovered envelope with

$13,000.00. Officers also confiscated TOURAY’s Samsung Galaxy S6 cell phone,

however, the passcode to unlock the cell phone did not work.

          Subsequently, on May 16, 2019, Special Agent DEVANE successfully

disabled the phone’s locking mechanism by using the Cellebrite software.

DEVANE then conducted a manual search of the phone. DEVANE did not have a

search warrant authorizing the search of TOURAY’s cell phone. During the search

of the phone, DEVANE located a text message to a contact named “Ja3.”1 The

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    SA Devane believes “Ja3” is a co-conspirator of TOURAY.
message contained a photograph of a DHS chain of custody receipt (No. 6792687).

This receipt reflected the seizure of $66,000.00 from TOURAY on March 26,

2019. The Government now offers this evidence collected from this search and

seizure of TOURAY in support of their case against him.

                                       AUTHORITY

      “The right of the people to be secure in their persons, houses, papers, and

effects, against unreasonable searches and seizures, shall not be violated, and no

warrants shall issue, but upon probable cause, supported by oath or affirmation,

and particularly describing the place to be searched, and the persons or things to be

seized.” U.S. Const. Amend. IV. “Probable cause for a search exists when under

the totality of the circumstances ‘there is a fair probability that contraband or

evidence of a crime will be found in a particular place.’” U.S. v. Goddard, 312

F.3d 1360 (11th Cir., 2002), Illinois v. Gates, 462 U.S. 213, 238, 103 S.Ct. 2317,

76 L.Ed.2d 527 (1983). The Supreme Court sets forth a two-part standard for

when a Fourth Amendment search has occurred: (1) the individual has “manifested

a subjective expectation of privacy” in the thing searched; and (2) “society is

willing to recognize that expectation as reasonable.” Kyllo v. United States, 533

U.S. 27, 33 (2001).

      “Since the founding of our Republic, Congress has granted the Executive

plenary authority to conduct routine searches and seizures at the border, without
probable cause or a warrant, in order to…prevent the introduction of contraband

into this country [emphasis added].” United States v. Montoya De Hernandez, 473

U.S. 531, 105 S.Ct. 3304, 87 L.Ed.2d 381 (1985), See United States v. Ramsey,

431 U.S. 606, 616-617, 97 S.Ct. 1972, 1978-1979, 52 L.Ed.2d 617 (1977). “This

Court has long recognized Congress’ power to police entrants [emphasis added] at

the border.” United States v. Montoya De Hernandez, 473 U.S. 531, 105 S.Ct.

3304, 87 L.Ed.2d 381 (1985), See Boyd v. United States, 116 U.S. 616, 623, 6 S.Ct.

524, 528, 29 L.Ed. 746 (1886).

      “[A] warrant is generally required before such a search [of a cell phone],

even when a cell phone is seized incident to arrest." Riley v. California, 134 S.Ct.

2473, 189 L.Ed.2d 430, 82 USLW 4558 (2014). “Our answer to the question of

what police must do before searching a cell phone seized incident to an arrest is

accordingly simple—get a warrant.” Riley v. California, 134 S.Ct. 2473, 189

L.Ed.2d 430, 82 USLW 4558 (2014).

                                       STANDING

      “[I]n order to claim the protection of the Fourth Amendment, a defendant

must demonstrate that he personally has an expectation of privacy in the place

searched, and that his expectation is reasonable.” United States v. Barber, 777 F.3d

1303 (11th Cir., 2015), citing Minnesota v. Carter, 525 U.S. 83, 88, 119 S.Ct. 469,

472, 142 L.Ed.2d 373 (1998).”
      TOURAY has a personal expectation of privacy because he is the person

seized and searched, and the Samsung Galaxy S6 cell phone belongs to him.

TOURAY’s expectation of privacy in his person and cell phone is reasonable and

is one that society recognizes as reasonable as laid out in the Riley case. A

person’s cell phone contains “the privacies of life,” and that technology now

allows an individual to carry such information in his hand does not make the

information any less worthy of the protection for which the Founders fought. Riley

v. California, 134 S.Ct. 2473, 189 L.Ed.2d 430, 82 USLW 4558 (2014).

TOURAY has standing under the Fourth Amendment to challenge the search of his

person and cell phone.

                                  CONCLUSION

      TOURAY’s seizure at JFK airport was not reasonable and furthermore, the

seizure of his cell phone and forensic search of it was without a warrant as required

by the Riley case.

      Wherefore, the defendant moves that this court conduct an evidentiary

hearing on these matters, allow counsel to brief the issue post-evidentiary hearing,

and exclude the evidence from the search of TOURAY and his cell phone.
Respectfully submitted,

  /s/Michael Saul

Michael H. Saul 627025
 Attorney for Defendant
     P.O. Box 4504
301 Washington Avenue
Marietta, Georgia, 30061
     404-281-1542


   /s/Michael T. Ross
     Michael T. Ross
     Bar No. 763334
 Attorney for Defendant
  301 Washington Ave
  Marietta, GA 30060
      770-722-3661
                          CERTIFICATE OF SERVICE

       I hereby certify under penalty of perjury that I caused the attached motion to

be served electronically to the United States and to the attorneys for the other

parties.

                               This December 3, 2020

                              Respectfully submitted,

                                   /s/Michael Saul

                          Michael H. Saul Bar No. 627025
                           Attorney for Bangally Touray
                                  P.O. Box 4504
                             301 Washington Avenue
                             Marietta, Georgia, 30061
                                  404-281-1542

                                 /s/Michael T. Ross
                                   Michael T. Ross
                                   Bar No. 763334
                               Attorney for Defendant
                                301 Washington Ave
                                Marietta, GA 30060
                                    770-722-3661
